
578 S.E.2d 316 (2003)
356 N.C. 685
STATE of North Carolina
v.
Robert Lawrence HOLLAND.
No. 354P02.
Supreme Court of North Carolina.
February 27, 2003.
John H. Painter, Monroe, for Holland.
Isaac T. Avery, III, Special Deputy Attorney General, Kenneth W. Honeycutt, District Attorney, Patricia A. Duffy, for State.
Prior report: 150 N.C.App. 457, 566 S.E.2d 90.

ORDER
Upon consideration of the petition filed by Defendant in this matter for a writ of certiorari to review the decision of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 27th day of February 2003."
